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Summary of Deposit Sources
Reformed Satanic Church of Keene, CHK 4521
Signer: J      B      B
June 2020 ‐ July 2020
Deposit Source                          Count   Total Deposited Percentage of Total
C       ,B       Limited Partnership      9         $165,580.00       18.29%
Cash                                      7         $541,970.00       59.86%
E        ,T        D.                     1            $7,500.00       0.83%
H       ,D      F.                        1            $3,000.00       0.33%
Reformed Satanic Church                   2         $167,366.86       18.49%
Z     ,D      S                           1           $20,000.00       2.21%
Grand Total                              21         $905,416.86      100.00%


Summary of Payees
Reformed Satanic Church of Keene, CHK 4521
Signer: J      B      B
June 2020 ‐ July 2020
Payee                                   Count     Total Paid    Percentage of Total
Bank Fee                                 19          ‐$1,425.93        0.16%
Debit Memo ‐ Closed                       1        ‐$103,490.93       11.43%
Paxos Trust Company                       5        ‐$800,500.00       88.41%
Grand Total                              25        ‐$905,416.86      100.00%




as of May 20, 2022
